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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


     KRISTOPHER JOLLY, et al.,

                 Plaintiffs,

     v.                                        Case No. 3:20-cv-1150-MMH-MCR

     HOEGH AUTOLINERS SHIPPING
     AS and HOEGH AUTOLINERS
     MANAGEMENT AS,

                 Defendants.
                                        /


                                       ORDER

           THIS CAUSE is before the Court sua sponte. The undersigned has been

     advised that the parties have reached a settlement in this matter.

     Accordingly, it is hereby

           ORDERED:

           1.    The parties shall have until October 2, 2024, to file a joint

                 stipulation of dismissal or other appropriate documents to close out

                 this file.

           2.    If the parties have not filed settlement pleadings or a request for

                 additional time by the October 2, 2024, deadline, this case will

                 automatically be deemed to be dismissed without prejudice.
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             3.   The jury selection and trial set to commence on Monday, August 5,

                  2024, is cancelled.

             4.   The Clerk of the Court is directed to terminate all pending motions

                  and administratively close this case pending further Order of the

                  Court.

             DONE AND ORDERED in Jacksonville, Florida this 2nd day of August,

     2024.




     ja

     Copies to:

     Counsel of Record




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